Case 0:99-cr-06153-KMM Document 1 Entered on FLSD Docket 10/27/1999 Page 1 of 20

(

{

ene 99 ~ OL DS CR-RYSKAMP

TVV
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
FORT LAUDERDALE
2 99-61 §963
21 USC §846
UNITED STATES OF AMERICA,

VS.

ALEJANDRO BERNAL-MADRIGAL,

a/k/a “Juvenal,”
a/k/a “Tony”

ARMANDO VALENCIA,
a/k/a “Juanito”

a/k/a “Luis Valencia- Valencia”

GUILLERMO MORENO-RIOS

a/k/a “Memo”

JAIRO SANCHEZ-CRISTANCHO,

a/k/a “Jota”

CARLOS SANCHEZ,

LUIS FERNANDO REBELLON-ARCILA,

a/k/a “Jimmy”

Defendants.

es ee ee ee ee ee ee ee te ee ee ee ee ee ee ee ee me ee es

 

INDICTMENT

The Grand Jury charges that:

MAGISTRATE JUDGE
JOHNSON.

 
Case 0:99-cr-06153-KMM Document 1 Entered on FLSD Docket 10/27/1999 Page 2 of 20

COUNT I
From on or about March 1, 1999, through on or about July 1, 1999, at Broward and Dade
Counties, in the Southern District of Florida, the Republic of Colombia, the Bahamas, the
Republic of Mexico, and elsewhere, the defendants,
ALEJANDRO BERNAL-MADRIGAL,
a/k/a “Juvenal,”
a/k/a “Tony,”
ARMANDO VALENCIA,
a/k/a “Juanito,”
a/k/a “Luis Valencia- Valencia,”
GUILLERMO MORENO-RIOS,
a/k/a “Memo,”
JAIRO SANCHEZ-CRISTANCHO,
a/k/a “Jota,”
CARLOS SANCHEZ, and
LUIS FERNANDO REBELLON-ARCILA,
a/k/a “Jimmy,”
did knowingly and intentionally combine, conspire, confederate and agree with each other, and
with persons known and unknown to the Grand Jury, to distribute, and to possess with the intent
to distribute, a quantity of five (5) kilograms or more of a mixture and substance containing a
detectable amount of cocaine, a Schedule II narcotic controlled substance, in violation of Title 21,
United States Code, Section 841(a)(1).
All in violation of Title 21, United States Code, Section 846.
COUNT II
From on or about on or about March 1, 1999, through on or about July 1, 1999, at
Broward and Dade Counties, in the Southern District of Florida, the Republic of Colombia, the

Bahamas, the Republic of Mexico, and elsewhere, the defendants,
Case 0:99-cr-06153-KMM Document 1 Entered on FLSD Docket 10/27/1999 Page 3 of 20

ALEJANDRO BERNAL-MADRIGAL,
a/k/a “Juvenal,”
a/k/a “Tony,”
ARMANDO VALENCIA,
a/k/a “Juanito,”

a/k/a “Luis Valencia- Valencia,”
GUILLERMO MORENO-RIOS,
a/k/a “Memo,”

JAIRO SANCHEZ-CRISTANCHO,
a/k/a “Jota,”

CARLOS SANCHEZ, and
LUIS FERNANDO REBELLON-ARCILA,
a/k/a “Jimmy,”

did knowingly and intentionally combine, conspire, confederate and agree with each other, and
with persons known and unknown to the Grand Jury, to import into the United States from a
place outside thereof, a quantity of five (5) kilograms or more of a mixture and substance
containing a detectable amount of cocaine, a Schedule II narcotic controlled substance, in

violation of Title 21, United States Code, Section 952.

 
Case 0:99-cr-06153-KMM Document 1 Entered on FLSD Docket 10/27/1999 Page 4 of 20

All in violation of Title 21, United States Code, Section 963.

A TRUE BILL

‘Ldm {

FOREPERSON

Jamey ble

THOMAS BS TT
TED S ANTORNEY

 

THERESA M. B. VAN VLIET
ASSISTANT UNITED STATES ATTORNEY

 

 

{ff yoo L
© Dp trp
LEO / (abr
GLENN ALEXANDER
TRIAL ATTORNEY
US.D TMENT OF JUSTICE
/ YY
/ CoA
JAMES BYRNE lv
TRIAL ATTORNEY

U.S. DEPARTMENT OF JUSTICE

 
Case 0:99-cr-06153-KMM Document 1 Entered on FLSD Docket 10/27/1999 Page 5 of 20
{

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

 

UNITED STATES OF AMERICA CASE NO.
Vv. CERTIFICATE OF TRIAL ATTORNEY*
ALEJANDRO RBERNAL-MADRIGAL, et al Superseding Case Information:
Court Division: (select one) New Defendant(s) Yes —__.—s—sw No LL
Number of New Defendants —_—_
— Miami — — nay West Total number of counts ——_
xX FTL — WPB__ FTP
| do hereby certify that:
1. | have carefully considered the allegations of the indictment, the number of defendants,

the number of probable witnesses and the legal complexities of the Indictment/Information
attached hereto.

2. | am aware that the information supplied on this statement will be relied upon by the
Judges of this Court in setting their calendars and scheduling criminal trials under the
mandate of the Speedy Trial Act, Title 28 U.S.C. Section 3161.

3. interpreter: (Yes or No) No
List language and/or dialect

 

4. This case willtake 5. days for the parties to try.

5. Please check appropriate category and type of offense listed below:
(Check only one) (Check only one)

| 0 to 5 days —_xX_ Petty —__

II 6 to 10 days —_—— Minor —__.

Hl 11 to 20 days —_—___ Misdem. —_—__.

IV 21 to 60 days —__— Felony _~_

V 61 days and over

 

6. Has this case been previously filed in this District Court? (Yes or No) No —
yes:

Judge: Case No.
(Attach copy of dispositive order)

 

Has a complaint been filed in this matter? (Yes or No) __No
If yes:

Magistrate Case No. N/A

Related Miscellaneous numbers: _N/A.
Defendant(s) in federal custody as of _N/A
Defendant(s) in state custody as of _N/A

Rule 20 from the __-N/A._SCs«éSiSttrictt Of

 

Is this a potential death penalty case? (Yes or

  
   
  

 

7. Does this case originate from a matte

y's Office prior to
April 1, 1999? _X_ Yes __ No

n? X Yes_No

 

 

THERESA M. B. VAN VLIET
ASSISTANT UNITED STATES ATTORNEY
Florida Bar No. 374040

*Penalty Sheet(s) attached REV.4/7/99
Case 0:99-cr-06153-KMM Document1 Entered on FLSD Docket 10/27/1999 Page 6 of 20

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
FT. LAUDERDALE, DIVISION

PENALTY SHEET

Defendant Name: ALEJANDRO BERNAL-MADRIGAL Case No.:
a/k/a Juvenal, a/k/a Tony _

Count #: |

Conspiracy and possession with intent to distribute cocaine

21 U.S.C. §846

 

*Max. Penalty: Five Years’ - Life Imprisonment Fine: $1,000,.000.00
Count #:11

Conspiracy to import cocaine

21 U.S.C. §963

 

*Max. Penalty: Five Years’ - Life Imprisonment. Fine: $1,000,000.00
Count #:

 

 

 

Max. Penalty:
Count #:

 

 

 

Max. Penalty:

*Refers only to possible term of incarceration, does not include possible fines
restitution, special assessments, parole terms, or forfeitures that may be
applicable.
Case 0:99-cr-06153-KMM Document 1 Entered on FLSD Docket 10/27/1999 Page 7 of 20
(

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
FT. LAUDERDALE, DIVISION

PENALTY SHEET

Defendant Name: ARMANDO VALENCIA Case No.:
a/k/a Juanito, a/k/a Luis Valencia-Valencia

Count #: |

Conspiracy and possession with intent to distribute cocaine

21 U.S.C. §846

 

*Max. Penalty: Five Years’ - Life Imprisonment __ Fine: $1,000,000.00
Count #:1I

Conspiracy to import cocaine

21 U.S.C. §963

 

*Max. Penalty: Five Years’ - Life Imprisonment __ Fine: $1,000,000.00
Count #:

 

 

 

*Max. Penalty:
Count #:

 

 

 

*Max. Penalty:

*Refers only to possible term of incarceration, does not include possible fines
restitution, special assessments, parole terms, or forfeitures that may be
applicable.

 
Case 0:99-cr-06153-KMM Document1 Entered on FLSD Docket 10/27/1999 Page 8 of 20

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
FT. LAUDERDALE, DIVISION
PENALTY SHEET
Defendant Name: GUILLERMO MORENO-RIOS Case No.:
a/k/a Memo
Count #: |

Conspiracy and possession with intent to distribute cocaine
21 U.S.C. §846

 

* Max. Penalty: Five Years’ - Life Imprisonment _ Fine: $1,000,000.00
Count #: II

Conspiracy to import cocaine
21 U.S.C. §963

 

* Max. Penalty: Five Years’ - Life_Imprisonment Fine: $1,000,000.00
Count #:

 

 

 

*Max. Penalty:
Count #:

 

 

 

*Max. Penalty:

“Refers only to possible term of incarceration, does not include possible fines
restitution, special assessments, parole terms, or forfeitures that may be
applicable.

 
Case 0:99-cr-06153-KMM Document1 Entered on FLSD Docket 10/27/1999 Page 9 of 20

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
FT. LAUDERDALE, DIVISION

PENALTY SHEET

Defendant Name: JAIRO SANCHEZ-CRISTANCHO Case No.:
a/k/a Jota

Count #: |

Conspiracy and possession with intent to distribute cocaine

21 U.S.C. §846

 

*Max. Penalty: Five Years’ - Life Imprisonment __ Fine: $1,000,000.00
Count #:1l

Conspiracy to import cocaine

21 U.S.C. §963

 

*Max. Penaity: Five Years’ - Life Imprisonment _ Fine: $1,000,000.00
Count #:

 

 

 

*Max. Penalty:
Count #:

 

 

 

*Max. Penalty:

*Refers only to possible term of incarceration, does not include possible fines
restitution, special assessments, parole terms, or forfeitures that may be
applicable.
Case 0:99-cr-06153-KMM Document 1 Entered on FLSD Docket 10/27/1999 Page 10 of 20

(
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

FT. LAUDERDALE, DIVISION

PENALTY SHEET

Defendant Name: CARLOS SANCHEZ Case No.:

Count #: |

Conspiracy and possession with intent to distribute cocaine
21 U.S.C. §846

 

*Max. Penalty: Five Years’ - Life Imprisonment Fine: $1,000,000.00
Count #:I!

Conspiracy to import cocaine
21 U.S.C. §963

 

*Max. Penalty: Five Years’ - Life Imprisonment__Fine: $1,000,000.00
Count #:

 

 

 

*Max. Penalty:
Count #: IV

 

 

 

*Max. Penalty:

*Refers only to possible term of incarceration, does not include possible fines
restitution, special assessments, parole terms, or forfeitures that may be
applicable.
Case 0:99-cr-06153-KMM Document1 Entered on FLSD Docket 10/27/1999 Page 11 of 20
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

FT. LAUDERDALE, DIVISION

PENALTY SHEET

Defendant Name: LUIS FERNANDO REBELLO-ARCILA Case No.:
alk/a Jimmy

Count #: |

Conspiracy and possession with intent to distribute cocaine

21 U.S.C. §846

 

*Max. Penalty: Five Years’ - Life Imprisonment ___ Fine: $1,000,000.00
Count #: II

Conspiracy to import cocaine

21 U.S.C. §963

 

*Max. Penalty: Five Years’ - Life Imprisonment Fine: $1,000,000.00
Count #:

 

 

 

* Max Penalty:
Count #:

 

 

 

*Max. Penalty:

“Refers only to possible term of incarceration, does not include possible fines
restitution, special assessments, parole terms, or forfeitures that may be
applicable.

 
Case 0:99-cr-06153-KMM Document 1 Entered on FLSD Docket 10/27/1999 Page 12 of 20

{ {

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
FT. LAUDERDALE DIVISION

cxG9O- 6153 *
NAGISTRATE JUDGE
UNITED STATES OF AMERICA JOHNSON

vs.

ALEJANDRO BERNAL-MADRIGAL,
a/k/a Juvenal,

a/k/a Tony

ARMANDO VALENCIA,

a/k/a Juanito,

a/k/a Luis Valencia-Valencia
GUILLERMO MORENO-RIOS

a/k/a Memo

JAIRO SANCHEZ-CRISTANCHO,
a/k/a Jota

CARLOS SANCHEZ,

LUIS FERNANDO REBELLON-ARCILA,
a/k/a Jimmy

1.

Defendants
/

CRIMINAL COVER SHEET

Did this case originate from a matter pending in the United States Attorney’s Office
prior to April 1, 19997? X_ Yes No

 
Case 0:99-cr-06153-KMM ,Document 1 Entered on FLSD Docket 10/27/1999 Page 13 of 20

2.

Did this case originate from a matter pending in the Central Region of the United
States Attorney's Office prior to April 1, 1999? _X Yes No

  
 

UN]VED STATES ATTORNEY

ele

THERESA M. B. VAN VLIET

ASSISTANT UNITED STATES ATTORNEY
Florida Bar Number 374040

500 East Broward Blvd, Suite 700

Ft. Lauderdale, Florida 33394

TEL (954) 356-7255

FAX (954) 356-7336

E-MAIL ADDRESS: tvanviie@usdoj.gov
Case 0:99-cr-06153-KMM Document 1 Entered on FLSD Docket 10/27/1999 Page 14 of 20

 

UNITED STATES o1sreicr. COURT
SOUTHERN District of FLORIDA
_ CENTRAL Division

 

 

THE UNITED STATES OF AMERICA

DS.
ALEJANDRO BERNAL-MADRIGAL, a/k/a Juvenal, a/k/a Tony;

FERNANDO REBELLON-ARCILA, a/k/a Jimmy

INDICTMENT

21 U.S.C. 963
21 U.S.C. 846

 

 

 

 

A true bill.
tibak tn, Lheore
Oe teh Led. A Foreman
Filed in open court this _ = == day
of A.D. 19 _ 2
EE Clerk
Bail, $02 -

 
Case 0:99-cr-06153-KMM Document 1 Entered on FLSD Docket 10/27/1999 Page 15 of 20

{
BOND RECOMMENDATION

DEFENDANT ALEJANDRO BERNAL~MADRIGAL, a/k/a Juvenal, a/k/a Ton

 

$_ PRETRIAL DETENTION

Last Known Address

(Surety, Recognizance, Corp.8urety, Cash)
(Jail) (On Bond Arrant) (Summons)

  

THERESA M. B. VAN -VLLET
ASSISTANT UNITED STATES ATTORNEY

 

What Facility

Agent S8/A KEVIN BYRNES, DEA
(FBI) (SECRET SERVICE) (DEA) (CUSTOMS) (ATF)

 

AO (Rev. 3/89)
Bond Recommendation

 
Case 0:99-cr-06153-KMM Document 1 Entered on FLSD Docket 10/27/1999 Page 16 of 20

BOND RECOMMENDATION

DEFENDANT ARMANDO VALENCIA, a/k/a Juanito, a/k/a Luis Valencia-Valencia

 

$ PRETRIAL DETENTION (Surety, Recognizance, Corp.Surety, Cash)
(Jail) (On poy) (Warrant) (8 ons)
(Marshal's /Cystody)

       
    
      
    

 

PHERESA M. B. VAN VLIET
ASSISTANT UNITED STATES ATTORNEY

Last Known Address

 

What Facility

Agent 8/A KEVIN BYRNES, DEA
(FBI) (SECRET SERVICE) (DEA) (CUSTOMS) (ATF)

AO (Rev. 3/89)
Bond Recommendation

 
Case 0:99-cr-06153-KMM Document 1 Entered on FLSD Docket 10/27/1999 Page 17 of 20

BOND RECOMMENDATION

DEFENDANT GUILLERMO MORENO-RIOS, a/k/a Memo

 

§$ PRETRIAL DETENTION (surety, Reco
(Jail) (On Bo
(Marshal's Cus

zance, Corp.8urety, Cash)
(Warrant) (Ss ons)

  
  
  

 

THERESA M. B. VAN VLIET
ASSISTANT UNITED STATES ATTORNEY

Last Known Address

 

What Facility

Agent 8/A KEVIN BYRNES, DEA
(FBI) (SECRET SERVICE) (DEA) (CUSTOMS) (ATF)

AO (Rev. 3/89)
Bond Recommendation

 
Case 0:99-cr-06153-KMM Document 1 Entered on FLSD Docket 10/27/1999 Page 18 of 20
(
BOND RECOMMENDATION

DEFENDANT JAIRO SANCHEZ-CRISTANCHO, a/k/a Jota

$_PRETRIAL DETENTION (Surety, Recognizance, Corp.Surety, Cash)
(Jail) (On Bond) (Warrant) (Summons)

ats

RESA M. B. VAN VLIET
ASSISTANT UNITED STATES ATTORNEY

  
  
    

Last Known Address

 

What Facility

Agent 8/A KEVIN BYRNES, DEA
(FBI) (SECRET SERVICE) (DEA) (CUSTOMS) (ATF)

AO (Rev. 3/89)
Bond Recommendation

 
Case 0:99-cr-06153-KMM Document 1 Entered on FLSD Docket 10/27/1999 Page 19 of 20

(
BOND RECOMMENDATION

DEFENDANT CARLOS SANCHEZ

$_PRETRIAL DETENTION (Surety, Recognizance, Corp.Surety, Cash)
(Jail) (On Bond) (Warrant) (Summons)
(Marshal's Custod

&

THERESA M. B. VAN VLIET
ASSISTANT UNITED STATES ATTORNEY

 

—

Last Known Address

 

What Facility

Agent 8/A KEVIN BYRNES, DEA
(FBI) (SECRET SERVICE) (DEA) (CUSTOMS) (ATF)

 

AO (Rev. 3/89)
Bond Recommendation

 
Case 0:99-cr-06153-KMM Document1 Entered on FLSD Docket 10/27/1999 Page 20 of 20
(
BOND RECOMMENDATION

DEFENDANT LUIS FERNANDO REBELLON-ARCILA, a/k/a Jimmy

$ PRETRIAL DETENTION (Surety, Recognizance, Corp.Surety, Cash)
(Jail) (On Bond) (Warrant) (Summons)

(Marshal's Cust
lO.

THERESA M. B. VAN VLIET
ASSISTANT UNITED STATES ATTORNEY

 

Last Known Address

 

What Facility

Agent 8/A KEVIN BYRNES, DEA
(FBI) (SECRET SERVICE) (DEA) (CUSTOMS) (ATF)

AO (Rev. 3/89)
Bond Recommendation

 
